3/9/22, 3:58 PM                             Case: 4:22-cv-00191-MTS Doc. #: 19-27 Filed:
                                                                                   Books –03/15/22
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                                                                               Books

        These are the books that are used to spread radical and racist ideologies to students. They demean
        our nation and its heroes, revise our history, and divide us as a people for the purpose of indoctrinating
        kids to a dangerous ideology. There are loads of these books for every reading and grade level. If you
        come across additional ones please let us know and we will add them here.

        These books spread many different messages.

         Critical Race Theory

         Anti-Police

         Comprehensive Sexuality Education

                                                                 Critical Race Theory
                                                                                     




https://www.noleftturn.us/exposing-books/
                                                                                                                                    Exhibit 34   1/6
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                                                                          Anti-Police
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                                                Comprehensive Sexuality Education
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        Rainbow Book List

        More CSE Books K-5

        More CSE Books
        Middle School




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